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                                UNITED STATES DISTRICT COURT
                                  DISTRICT OF CONNECTICUT

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 LEAD CASE: 3:21cv1657 SVN

 MEMBER CASE: 3:21cv1659, 3:21cv1673, 3:21cv1674, 3:21cv1681, 3:21cv1682,

 3:21cv1691, 3:21cv1701, 3:21cv1704, 3:21cv1721, 3:21cv1723, 3:21cv1724, 3:21cv1730,

 3:21cv1736, 3:21cv1737; 3:21cv1737, 3:22cv32; 3:22cv35, 3:22cv58, 3:22cv71




                                          NOTICE TO COUNSEL

The above-captioned cases have been ordered consolidated pursuant to an order entered

by Judge Sarala V. Nagala. The following provisions will govern the procedural aspects of

the consolidation:


   1. The clerk will maintain a LEAD CONSOLIDATED DOCKET SHEET AND FILE in case

       number 3:21cv1657

   2. All captions shall include ONLY the LEAD CONSOLILDATED CASE NAME AND

       DOCKET NUMBER.

   3. The parties and counsel from each member case will be added to the docket of the

       LEAD CONSOLIDATED DOCKET SHEET and the member cases will be closed without

       prejudice to the right of any party to move to reopen upon resolution of the LEAD case.

   4. All docketing shall be made ONLY on the LEAD CONSOLIDATED DOCKET SHEET.

   5. Any pending motions from the member cases will be re-docketed on the LEAD

       CONSOLIDATED DOCKET SHEET.

   6. In the event an appeal is taken by one or more parties from a decision or judgment of

       this court, or in the event copies of the file are needed outside the district for any reason,

       it shall be the duty of the requesting party to certify the record required. It shall

       then be the responsibility of counsel who originally prepared or filed any documents to
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       furnish, upon request, sufficient copies to the clerk for transmittal of the record. Copies

       requested shall be furnished within ten (10) days.


Dated at New Haven Connecticut, this 18th day of January, 2022



                                                     Dinah Milton Kinney, Clerk

                                                     By:           /s/
                                                     S. Imbriani, Deputy Clerk




Rev 1‐3‐22
